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Attorneys for Plaintiff
Rock With U Entertainment, Inc.

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

Rock With U Entertainment, Inc.
Petitioner, CIVIL ACTION NO.::
Vv. COMPLAINT FOR:
1) Trademark Infringement
Tropics Entertainment, Inc., 2) Federal Unfair Competition
Defendant 3) Tortious Interference with Business
Relations

4) Florida’s Deceptive and Unfair Trade
Practices Act
5) Unfair Competition under Florida

Common Law

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DEMAND FOR JURY TRIAL

Complaint for Trademark Infringement
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Plaintiff Rock With U Entertainment, Inc. (“RWU” or “Plaintiff”) state the following for their
Complaint for Trademark Infringement (“Complaint”) against Tropics Entertainment, Inc. (“Tropics” or
“Defendant” ).

L INTRODUCTION

iL, RWU is the owner of the incontestable registration, FUSION, U.S. Registration No.
4,699,425 for “Entertainment in the nature of live performances by a disc jockey and accompanying
band” in International Class 041, registered on March 10, 2015 (the “FUSION Mark”)

2. For over ten years, RWU has advertised, marketed, promoted, offered to sell, and sold DJ
and band services under the well-known FUSION Mark.

3. On information and belief, Tropics uses an infringing trademark, DJ FUSION BAND (the
“Infringing Mark”) to offer similar, if not identical, services.

4. Tropics is not only a direct competitor of RWU, but is located within a twenty (20) mile
radius of RWU, offers identical services under the Infringing Mark, and travels in the same channel of
trade and marketing as RWU.

Ds In short, the Infringing Mark is confusingly similar to RWU’s FUSION Mark in a manner
that is likely to cause, and has caused, consumer confusion and deceive the public regarding the source,
sponsorship, and/or affiliation of DJ and band services. Tropics promotion, use, sell, and offer to sell of
the Infringing Mark is therefore unlawful and is causing irreparable harm to RWU’s brand.

6. RWU brings this action at law and in equity for trademark infringement and dilution,
unfair competition, and unfair business practices arising under the Trademark Act of 1946, 15 U.S.C. §§
1051 et seq. (2009) (“Lanham Act”); the fair business practices and unfair and deceptive trade practices
acts under the State of Florida; and the common law. Among other relief, RWU asks this Court to: (a)
preliminarily enjoin Tropics from distributing, marketing or selling services bearing a confusingly similar
trademark of the FUSION Mark; (b) permanently enjoin Tropics from distributing, marketing or selling
services using or bearing a confusingly similar imitation of the FUSION Mark; (c) award RWU monetary
damages and to treble that award; (d) require Tropics to disgorge all profits from sales derived from the

use of the Infringing Mark; and (e) award RWU punitive damages, attorneys’ fees, and costs.

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Il. PARTIES

d Plaintiff Rock With U Entertainment, Inc. is a corporation organized under the laws of the
State of Florida with a principal place of business at 1200 Stirling Road, Units 11 A & B, Dania Beach, FL
33004.

2; On information and belief, Tropics Entertainment, Inc. is a corporation organized and
existing under the laws of the State of Florida, having its principal place of business at 13186 NW 19"
Street, Pembroke Pines, FL 33028.

Il. JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction under section 39 of the Lanham Act, 15 U.S.C. §
1121, and under 28 U.S.C. §§ 1331 and 1338. Subject matter jurisdiction over RWU’s related state and
common law claims is proper pursuant to 28 U.S.C. §§ 1338 and 1367.

4. This Court has personal jurisdiction over Defendant because they have substantial
contacts in the State of Florida, is registered in the State of Florida, and conducts substantial business
activities in the State of Florida. Specifically, in this judicial district.

5. The Southern District of Florida is a proper venue pursuant to 28 U.S.C. §§ 1391 and 1400
since a substantial part of the acts giving rise to RWU’s claims occurred in this district.

Il. FACTUAL BACKGROUND

6. As mentioned earlier, RWU has operated and continues to operate using the FUSION
Mark for over ten (10) years.

i RWU offers a “true DJ-driven dance band that delivers the music versatility of a DJ along
with the sound, showmanship, & sophistication of a live band” under the FUSION Mark. Pages from
RWU’s website featuring use of the FUSION Mark are attached as Exhibit 1.

8. RWU’s FUSION Mark has been registered since March 10, 2015, with affidavits filed
pursuant to Sections 8 and 15 of the Lanham Act, 15 U.S.C. §§ 1058 and 1065, and this registration is
incontestable. A copy of the Certificate of Registration for this mark is attached as Exhibit 2.

D. In blatant disregard of RWU’s rights, Tropics is marketing, advertising, offering for sale,

and selling in interstate commerce services under the Infringing Mark for identical to the services offered

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by RWU under the FUSION Mark.

10, Tropics offers its services, among other ways, though its website:
https:/ / tropicsentertainment.com / dj-fusion. A copy of the website is attached as Exhibit 3.

11. As RWU’s direct competitor, Tropics is offering the Infringing Mark to the same
consumers as RWU.

12. On or about October 10, 2023, Tropics inadvertently cc’d a member of RWU on an email
that was sent to a prospective client who was looking for “entertainment: DJ, MC, Dancers, lighting, etc.”
Tropics responded with a proposal for their “best DJ Hybrid band.” A copy of the redacted email is
attached as Exhibit 4.

13. On or about November 15, 2023, RWU received a text a wedding planner they work with
showing Tropics marketing, promoting, and offering to sell similar services under the Infringing Mark.
A copy of the text is attached as Exhibit 5.

14. On or around December 04, 2023, RWU sent a Cease-and-Desist letter to counsel of
Tropics detailing ensuring Tropics knew of RWU’s FUSION Mark. A copy of the Cease and Desist is
attached as Exhibit 6.

15. On or around December 20, 2023, counsel for RWU had a phone call with counsel of
Tropics related to the Cease and Desist and use of the Infringing Mark. The sum of which Tropics was
determined to continue using the Infringing Mark.

16. Without doubt, Tropics had knowledge of and was very familiar with RWU’s FUSION
Mark when it began marketing, promoting, offering for sale, and selling services under the Infringing
Mark. Clearly, Tropics intentionally adopted and used a confusingly similar FUSION Mark knowing that
the Infringing Mark would mislead and deceive consumers into believing that Tropics services was
produced, authorized, or licensed by RWU, or that the services originated from RWU.

17. The Infringing Mark is marketed, promoted, offered for sale, and sold by Tropics is not
associated, affiliated, or connected with RWU, or licensed, authorized, sponsored, endorsed, or approved
by RWU in any way.

18. RWU and Tropics operate in the same geographical location, having a principal place of

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business less than 13 miles apart from one another. A copy of Google maps printout showing the
distance between the two is attached as Exhibit 7.

19. RWU and Tropics also share similar contractors, vendors, and personnel, which further
increases the likelihood of confusion.

20. RWU used the FUSION Mark extensively and continuously before Tropics began: (i) using
the Infringing Mark or (ii) marketing, offering for sale, and selling services under the Infringing Mark.

als The likelihood of confusion, mistake, and deception engendered by Tropics infringement
of RWU’s FUSION Mark is causing irreparable harm to the goodwill symbolized by the mark and the
reputation for quality that it embodies.

22 RWU has spent a substantial amount of time, money, and energy cultivating, promoting,
marketing, and advertising the FUSION Mark.

23. Tropics activities are likely to continue to cause confusion before, during, and after the
time of purchase because purchasers, prospective purchasers, and others viewing Tropics Infringing
Mark at the point of sale or through marketing are likely—due to Tropics use of a confusingly similar
imitation of RWU’s FUSION Mark — to mistakenly attribute the services to RWU. By causing a
likelihood of confusion, mistake, and deception, Tropics is inflicting irreparable harm on the goodwill
symbolized by RWU and the reputation for quality that it embodies.

24. On information and belief, Tropics continues to use the Infringing Mark in connection
with the sale of services that directly competes with the services offered by RWU. Tropics began selling
the Infringing Mark well after RWU had established protectable rights in the FUSION Mark.

25. On further information and belief, Tropics knowingly, willfully, intentionally, and
maliciously adopted and used a confusingly similar imitation of RWU’s FUSION Mark.

IV. CLAIMS FOR RELIEF

Count I
(Federal Trademark Infringement)

26. Plaintiff incorporates by reference and realleges paragraphs 1 through 22 above as though

fully set forth herein.

Complaint for Trademark Infringement
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27. Tropics use of the Infringing Mark is likely to cause confusion, deception, and mistake by
creating the false and misleading impression that Tropics services are licensed or endorsed with RWU, or
are associated or connected with RWU, or have the sponsorship, endorsement, or approval of RWU.

28. Tropics Infringing Mark is confusingly similar to RWU’s federally registered mark in
violation of 15 U.S.C. § 1114. Tropic’s activities are causing and, unless enjoined by this Court, will
continue to cause a likelihood of confusion and deception of members of the trade and public, and,
additionally, injury to RWU’s goodwill and reputation for which RWU has no adequate remedy at law.

29, Tropics actions demonstrate an intentional, willful, and malicious intent to trade on the
goodwill associated with RWU’s FUSION Mark to RWU’s great and irreparable harm.

30. Tropics caused and is likely to continue causing substantial injury to the public and to
RWU, and RWU is entitled to injunctive relief and to recover Tropics profits, actual damages, enhanced

profits and damages, costs, and reasonable attorneys’ fees under 15 U.S.C. §§ 1114, 1116, and 1117.

COUNT II
(Federal Unfair Competition)

SL. Plaintiff incorporates by reference and realleges paragraph 1 through 27 above as though
fully set forth herein.

32. Tropics use of the Infringing Mark is confusingly similar to RWU’s FOCUS Mark and has
caused and is likely to continue causing confusion, deception, and mistake by creating the false and
misleading impression that Tropics services are manufactured or distributed by RWU, or are affiliated,
connected, or associated with RWU, or have the sponsorship, endorsement, or approval of RWU.

33. Tropics has made false representations, false descriptions, and false designations of, on, or
in connection with its services in violation of 15 U.S.C. § 1125(a). Tropics activities have caused and,
unless enjoined by this Court, will continue to cause a likelihood of confusion and deception of members
of the trade and public, and, additionally, injury to RWU’s goodwill and reputation, for which RWU has
no adequate remedy at law.

34. Tropics actions demonstrate an intentional, willful, and malicious intent to trade on the

goodwill associated with RWU to the great and irreparable injury of RWU.

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35. Tropics conduct has caused, and is likely to continue causing, substantial injury to the
public and to RWU. RWU is entitled to injunctive relief and to recover Tropics profits, actual damages,
enhanced profits and damages, costs, and reasonable attorneys’ fees under 15 U.S.C. §§ 1125(a), 1116, and
Tii?.

COUNT III
(Tortious Interference with Business Relations)

36. Plaintiff incorporates by reference and realleges paragraph 1 through 32 above as though
fully set forth herein.

oe Tropics has intentionally and willfully calculated to cause damage to RWU’s business
relationships with its customers and business associates by promoting, offering to sell, and selling
confusingly similar services under the Infringing Mark.

38. Additionally, Tropics has intentionally and willfully calculated to cause damage to RWU’s
business relationships with its customers and business associates by pretending to be associated,
affiliated with, or endorsed by RWU.

39. Tropics actions alleged in this Complaint were done with an intent to damage RWU’s
business relationships and to cause a termination of such relationships.

40. Tropics has attempted and succeeded in doing just that. Tropics has caused actual
confusion among consumers.

41. Tropics had no right or justifiable cause for its conduct in the actions alleged herein.

42. The acts of Tropics alleged in this Complaint have caused irreparable harm to RWU.

43. Unless enjoined, Tropics acts alleged herein will continue to cause RWU irreparable harm,
loss, and injury, to which RWU has no adequate remedy at law

COUNT IV
(Violation of Florida’s Deceptive and Unfair Trade Practices Act)

44. Plaintiff incorporates by reference and realleges paragraph 1 through 40 above as though

fully set forth herein.

45. This is a claim for violation of the Florida Deceptive and Unfair Trade Practices Act

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(“FDUTPA”) under Chapter 501 of the Florida Statutes.

46. By reason of the foregoing, Tropics actions actually deceived or are likely to deceive and
mislead the public into believing that the products associated with RWU are counterfeit and/or that
RWU is engaging in the sale of counterfeit services.

47. By reason of the foregoing, Tropics actions constitute willfully unfair and deceptive
conduct in violation of the FDUTPA, Fla. Stat. §§ 501.201, et seq. and unfair competition under Florida
common law.

48. By reason of the foregoing, RWU is being irreparably damaged by Tropics activities in the
manner set forth above and will continue to be irreparably damaged unless Tropics is enjoined from the
aforesaid acts. RWU has no adequate remedy at law.

COUNT V
(Unfair Competition Pursuant to the Florida Common Law)

49. _ Plaintiff incorporates by reference and realleges paragraph 1 through 45 above as though
fully set forth herein.

50. Tropics have engaged in unfair competition arising under the common law of the State of
Florida.

51, By reason of the foregoing, Tropics, as a market competitor of RWU, is engaged in
deceptive conduct by disseminating false and misleading representations that RWU is infringing by
offering services similar to those offered under Tropics Infringing Mark.

Bz Tropics conduct has caused consumer confusion because it had a material effect on RWU’s
customers’ and prospective customers’ decisions and ability to purchase RWU’s services or do business
with RWU.

53: As a result of Tropics unfair competition, RWU’s customers and prospective customers
were actually deceived or are likely to be deceived and confused into believing that RWU services are
affiliated, associated with, or part of Tropics Infringing Mark.

54. As a direct and proximate result of Tropics actions, constituting false or misleading

representation of fact and unfair competition, RWU has been damaged and is entitled to monetary relief

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in an amount to be determined at trial.

55. As a direct and proximate result of Tropics actions, constituting false or misleading
representation of fact and unfair competition, RWU has suffered and continues to suffer great and
irreparable injury, for which RWU has no adequate remedy at law.

56. Tropics will continue their actions, constituting false or misleading representation of fact
and unfair competition, unless enjoined by this Court.

Vv. PRAYER FOR RELIEF

WHEREFORE, RWU asks this Court to enter judgment in their favor against Tropics and grant
the following relief, as to all claims for relief:

1. That the Court enter a judgment against Tropics that Tropics has contributorily infringed
the rights of RWU in the FUSION Mark that has been federally registered, in violation of 15 U.S.C. §§
1114 and 1125(a);

Ds That the Court enter a judgment against Tropics that Tropics engaged in unfair
competition and deceptive acts and practices in violation of Florida Deceptive and Unfair Trade Practices
Act (“FDUTPA”) under Chapter 501, et seq. and Florida common law;

3, That each of the above acts was willful;

4, That the Court issue a temporary restraining order, preliminary injunction, and
permanent injunction enjoining and restraining Tropics and their agents, servants, employees, successors
and assigns, and all other persons acting in concert with or in conspiracy with or affiliated with Tropics,
from:

a. Engaging in, or contribution to, any infringing activity including advertising,
promoting, marketing, franchising, selling and offering for sale any goods or
services in connection with the FUSION Mark or any similar mark, including but
not limited to the FUSION Mark;

b. Using any domain name, or social media account, that is identical or confusingly
similar to the FUSION Mark;

c. Engaging in any unfair competition with RWU; and

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d. Engaging in any deceptive acts;

5 That RWU be awarded damages for trademark infringement and unfair competition and
that these damages be trebled due to Tropics willfulness, in accordance with the provisions of 15 U.S.C. §
TIT,

6. That RWU be awarded all profits resulting from Tropics contributory infringement of
RWU’s rights and by means of Tropics unfair competition with RWU;

o That Tropics be ordered to account for and disgorge to RWU all amounts by which

Tropics has been unjustly enriched by reason of the unlawful acts complained of;

8. That RWU be awarded an amount sufficient to reimburse RWU for the costs of corrective
advertising;
9. For prejudgment interest on all infringement damages; and

10. That the Court award RWU their reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117,
Florida law, and any other applicable provision of law.
11. That the Court award RWU their costs of suit incurred herein;

12. For such other or further relief as the Court may deem just and proper.

THE RAPACKE LAW GROUP, P.A.

Dated: 12/29/2023 By:  /s/Andrew S. Rapake
Andrew S. Rapake, Esq.
Phillip Thomas Horton
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Attorneys for Plaintiff

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial on all issues triable as of right to a jury. Fed. R. Civ. P. 38(b).

THE RAPACKE LAW GROUP, P.A.

Dated: 12/29/2023 By:  /s/Andrew S. Rapake

Andrew S. Rapake, Esq.

Phillip Thomas Horton

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Attorneys for Plaintiff

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EXHIBIT 1
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HOME OF FUSION®

Due to the distinctive and proprietary nature of the concept and name, RWU was awarded a trademark for Fusion
by the U.S, Government (Registration No. 4699425 from the United States Patent and Trademark Office)

FUSION

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ABOUT VIDEO JX

Fusion (often referred to by many as the Fusion DJ/Live Band Hybrid) is a true DJ-driven dance band
that delivers the music versatility of a DJ along with the sound, showmanship, & sophistication of a live
band. The combination of our trademarked format, proprietary show tools (custom remixes, mashups,
etc), custom arrangements, and the use of some of the top musicians in the world gives our show a dis-
tinct impact. Playing the actual versions of songs, as opposed to covers, also allows for a beyond au-
thentic music feel. Most importantly, and most essential to a successful event, Fusion has the ability to
adapt the music to fit a live audience rather than being restricted by a set list. All of these working to-

gether in harmony make Fusion a truly unparalleled music experience for events.

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EXHIBIT 2
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FUSION

Reg. No. 4,699,425
Registered Mar. 10, 2015

Int. CL: 41

SERVICE MARK
PRINCIPAL REGISTER

Fitctatty Bo Zan

Deputy Director of the United States
Patent and Trademark Office

ROCK WITH U ENTERTAINMENT, INC. (FLORIDA CORPORATION)
UNITS 11 A&B

1200 STIRLING ROAD

DANIA BEACH, FL 33004

FOR: ENTERTAINMENT IN THE NATURE OF LIVE PERFORMANCES BY A DISC JOCKEY
AND ACCOMPANYING BAND, IN CLASS 41 (U.S. CLS. 100, 101 AND 107).

FIRST USE 1-1-2010; IN COMMERCE 1-1-2010.

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

SER. NO. 86-350,286, FILED 7-28-2014.

DANNEAN HETZEL, EXAMINING ATTORNEY
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REQUIREMENTS TO MAINTAIN YOUR FEDERAL
TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
5th and 6th years afier the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
accepted, the registration will continue in force for the remainder of the ten-year period, calculated
from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
federal court.

Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
Application for Renewal between the 9th and 10th years after the registration date.*
See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nomuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §1141j. For more information and renewal
forms for the intemational registration, see http:/Avww.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at hitp://Avww.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://Avww.uspto.gov.

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EXHIBIT 3
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Dy URN ON \Ge=W WEES

Discover the ultimate fusion of cutting-edge entertainment with our Dj Fusion Bands, a harmonious blend of a master DJ and live musicians,
bringing an electrifying and dynamic experience to your event. Get ready to dance the night away as the DJ's beats intertwine seamlessly with the
live instruments, creating an unforgettable ambiance that will elevate your celebration to extraordinary heights.

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The Clique performed at our wedding and they were sensational,
Everybody was dancing the entire night, the energy was fabulous and
Tropics couldn't have been nicer to work with. Our wedding guests
raved about the band. We highly recommend them!

David A

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EXHIBIT 4
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12/28/23, 12:06 PM Fwd: Seeking entertainment: Daughters Bat Mitzvah March 2025 - greg@rockwithu.com - Rockwithu.com Mail

weneenennn Forwarded message ---------
From: Greg Chinnis <greg@rockwithu.com>
Date: Tue, Oct 31, 2023 at 3:32 PM

Subject: Fwd: Seeking entertainment: Daughters Bat Mitzvah March 2025
To: Lee Ann Key ia

ATTORNEY-CLIENT PRIVILEGE

sannonann= Forwarded message ---------
From: Elvis Barnett <elvis@rockwithu.com>
Date: Tue, Oct 31, 2023 at 3:30 PM

Subject: Fwd: Seeking entertainment: Daughters Bat Mitzvah March 2025
To: Greg Chinnis <greg@rockwithu.com>

weeeeneeoe Forwarded message ---------
From: Dan Morris <dan@tropicsentertainment.com>
Date: Tue, Oct 10, 2023 at 2:04PM

Subject: RE: Seeking entertainment: Daughters Bat Mitzvah March 2025
To: scott meisel Elvis@rockwithu.com <Elvis@rockwithu.com>
Cc: Lilya Popovetsky

Hi Scott nice speaking with you. Here is a proposal for our best DJ Hybrid band, Lovechild ft. DJ Sample. This group is
highly customizable so let me know if you have any questions about the options.

MAR-16-2025-Woodfield-CC-Scott-Meisel

By the way, if the name “Lovechild’ is a little bit much for a kids party, | just want to let you know that we don’t have any signs
and we don’t say the name at the event, it’s only for the contract <=

Look forward to hearing from you. Thanks!

Dan Morris

Tropics Entertainment

Main Office: 305-531-3468, ext. 3
Direct Line: 954-669-1193
dan@tropicsentertainment.com
www.tropicsentertainment.com

From: scott meisel
Sent: Monday, October 9, 2023 7:36 PM

To: Elvis@rockwithu.com
Ce: Lilya Popovetsky scottrmeisel@yahoo.com

Subject: Seeking entertainment: Daughters Bat Mitzvah March 2025

Good evening, my daughter will be having her Bat Mitzvah Sunday afternoon March 16, 2025 in Palm Beach County
Florida. | am looking for entertainment: DJ, MC, Dancers, lighting, etc.

Please reach out to me if available so that we can talk in further detail.

Regards,
Scott R. Meisel

Cell: (516) 547 - 7576

https://mail.google.com/mail/u/O/#search/tropics/FMfcgzGwJ]gzdPbdwkjpmV HJImqV¥QZwJM

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Case 1:24-cv-20052-XXXX Document 1 Entered on FLSD Docket 01/05/2024 Page 27 of 39
12/28/23, 12:06 PM Fwd: Seeking entertainment: Daughters Bat Mitzvah March 2025 - greg@rockwithu.com - Rockwithu.com Mail

Elvis Barnett | Director of Experience

Miami | Bahamas | Minneapolis | Los Angeles

0 954.404.6547 | f 786.427.1343 | rockwithu.com

Monday-Thursday: 9am-6pm (office time) | Friday-Sunday: OFF (events + recovery)
FL TA LICENSE #1154

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Greg 'Slim' Chinnis | Co-Founder & Managing Partner

Miami | Bahamas | Minneapolis | Los Angeles

In-Game DJ - Miami Dolphins | Miami Hurricanes

@djslimrok @rockwithu

0 954.404.6547 | f 786.427.1343 | rockwithu.com

Tuesday - Friday: 9am-6pm (office time) | Saturday - Monday: OFF (events + recovery)
FL TA LICENSE #1154

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Live Bands; bios Auocicsentertainment com five-bands!
REMIX 165 - 19.5%

THE CUIQUE 11.5k- 13.5%

EXTASY (‘DJ fusion optional) 13k - 15k

VINYL 14% - 16%

CAMEO 12% - 14«

DJ Fusion: bitos Mrocicsentertainment com’d-fusion!
LOVECHILD Ex - 14%
FLAVOR 7k — 12

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Andrew 8S. Rapacke, ESQ.

THE RAPACKE LAW GROUP, P.A.

3750 Birch Terrace, Davie, FL 33330
TEL (954) 951-0154 / FAX (954) 206-0484
WWW.ARAPACKELAW.COM

For Settlement Purposes Only — Subject to FRE § 408

December 01, 2023

VIA EMAIL: (chris@vandamlaw.com)

Chris Van Dam, Counsel
Tropics Entertainment
13186 NW 19" Street
Pembroke Pines, FL 33028

Re: Notice of Trademark Infringement - FUSION, U.S. Reg. No. 4,699,425

Dear Mr. Van Dam:

This law firm represents Rock with U Entertainment (“RWU”) in connection with its intellectual
property matters. RWU is the owner of the incontestable trademark FUSION, U.S. Registration
No. 4,699,425 for “Entertainment in the nature of live performances by a disc jockey and
accompanying band” in International Class 041 (the “FUSION Registration”).

As you know, RWU offers consumers a DJ-driven dance band consisting of a DJ, along with the
sound, showmanship, & sophistication of a live band under the Fusion Registration. It has
come to our attention that Tropic Entertainment is profiting from the use of RWU’s Fusion
Registration and causing consumer confusion within the same South Florida marketplace.
According to the Tropics Entertainment website, www.tropicsentertainment.com/dj-fusion,
your client not only uses an identical mark, but offers identical services within the same
channels of commerce. Your client’s website shows prima facie evidence of the use of my client's
registered trademark, along with a nearly identical description of services (i.e., promoting and

providing entertainment services of a DJ and live musicians). (see attached).

As you know, Tropics Entertainment has been a competitor of RWU for several years and has
not only had notice of RWU’s trademark but has continued to do so after being having
knowledge of RWU trademark registration constituting willful infringement.

Please understand that RWU takes their intellectual property matters seriously and is
attempting to resolve this matter amicably. However, after a careful review of the facts,
website, and use of the DJ FUSION BANDS mark, we insist that you immediately cease the
continued infringement of the DJ FUSION BANDS mark and confirm the same within 10
business days.

3750 BIRCH TERRACE TEL.: 954-951-0154 @ Fax: 954-206-0487 ry) Tr) Yc
DAVIE, FLORIDA 33330 WWW.ARAPACKELAW.COM ‘FA f \ me Ez
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The Trademark Act § 2(d) bars use of a mark that is so similar to a registered mark that it is
likely consumers would be confused, mistaken, or deceived as to the commercial source of the
goods and/or services of the parties. See 15 U.S.C. §1052(d). Likelihood of confusion is
determined on a case-by-case basis by applying the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) (called the “du Pont
factors”). In re i.am.synibolic, llc, 866 F.3d 1315, 1322, 123 USPQ2d 1744, 1747 (Fed. Cir. 2017).
Any evidence of record related to those factors need be considered; however, “not all of the
DuPont factors are relevant or of similar weight in every case.” In re Guild Mortg. Co., 912 F.3d
1376, 1379, 129 USPQ2d 1160, 1162 (Fed. Cir. 2019) (quoting In re Dixie Rests., Inc., 105 F.3d 1405,
1406, 41 USPQ2d 1531, 1533 (Fed. Cir. 1997)). Although not all du Pont factors may be relevant,
there are generally two key considerations in any likelihood of confusion analysis: (1) the
similarities between the compared marks and (2) the relatedness of the compared goods and/or
services. See In re i.am.symbolic, llc, 866 F.3d at 1322, 123 USPQ2d at 1747 (quoting Herbko Int'l,
Inc. v. Kappa Books, Inc., 308 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002)); Federated
Foods, Inc. v. Fort Howard Paper Co., 544 F.2d 1098, 1103, 192 USPQ 24, 29 (C.C.P.A. 1976) (“The
fundamental inquiry mandated by [Section] 2(d) goes to the cumulative effect of differences in
the essential characteristics of the goods [or services] and differences in the marks.”); TMEP
§1207.01.

In this case, the Infringing Mark encompasses the entirety of RWU’s FUSION Registration. Due
to the similarities in appearance, sound, and meaning, consumers viewing the marks, FUSION
and DJ FUSION BAND, will believe the mark emanates from the same source since both use the
word Fusion. Additionally, the marks, FUSION and DJ FUSION BAND, both offer similar
services, namely, entertainment consisting of a DJ and live musicians, to the same consumer
base in South Florida. Since both marks are used to offer similar services to the same consumer
base, consumer confusion is unavoidable. To date, we have evidence of actual confusion in the
marketplace with consumers believing your DJ FUSION BAND mark is related to RWU’s
FUSION Registration. Those consumers are being tricked into believing that you are affiliated,
associated with, or your actions are endorsed by RWU. Your actions are hurting the goodwill
and reputation of the FUSION Registration since you are not affiliated with RWU, you are not
associated with the RWU, and your actions are not endorsed by RWU. Therefore, we insist that
you stop the continued use and promotion of the FUSION brand.

In summary, your DJ FUSION BAND mark is simply identical to RWU’s FUSION Registration.
We request that you immediately Cease and Desist use of the DJ FUSION Band mark on your
website, marketing and promotional materials, any other instances where you associate the DJ
FUSION BAND mark with the FUSION Registration.

If you continue to use the DJ FUSION BAND mark, RWU will have no choice but to file for
trademark infringement in federal court to seek an injunction, damages, and legal fees.
Additionally, there are several holiday events scheduled in the near future between RWU and

3750 BIRCH TERRACE TEL.: 954-951-0154 @ FAX: 954-206-0487 “y f LD) A eo
DAVIE, FLORIDA 33330 WWW.ARAPACKELAW.COM 4 A “Rew NE

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Tropics Entertainment, we want to ensure that your client understands that any continued use
of the infringing mark will constitute willful infringement.

I understand there was question from previous counsel about how the DJ FUSION BAND mark
should be changed or amended to avoid confusion. We believe that is a business decision for
your client to decide, so long as the new mark does not include the word “FUSION.”

This letter is without prejudice to any action that may be taken, or demand made on behalf of
our client if further action is deemed necessary to protect our client's rights, all of which are
expressly reserved.

PLEASE CONFIRM RECEIPT OF THIS LETTER WITHIN TEN (10) BUSINESS DAYS.

Sincerely,

Anchiw S. Kapacke

Andrew 5. Rapacke

3750 BIRCH TERRACE TEL.: 954-951-0154 @ FAX: 954-206-0487
DAVIE, FLORIDA 33330 WWW.ARAPACKELAW.COM

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Discover the ultimate fusion of cutting-edge entertainment with our DJ
Fusion Bands, a harmonious blend of a master DJ and live musicians,
bringing an electrifying and dynamic experience to your event. Get ready to
dance the night away as the DJ's beats intertwine seamlessly with the live
instruments, creating an unforgettable ambiance that will elevate your
celebration to extraordinary heights.

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We had Entourage at our wedding
and they beyond exceeded our
expectations! A month later and

people are still talking to us about

how incredible the band was - it felt
like we were at a concert! Their
voices, energy and personalities are
incredible and kept our party going all
night! Everyone at Tropics was
extremely easy to work with and |

wish | could give more than 5 stars!

Jillian K

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EXHIBIT 7
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| S Tropics Entertainment, 13186 NW 19th St, Drive 12.2 miles, 26 min
Go uF Map Pembroke Pines, FL 33028 to Rock With U, 1200 Stirling Rd #11A, Dania
Beach, FL 33004

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Management Area_
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f_svia FL-822/Sheridan St and 26 min
Stirling Rd 12.2 miles

Best route now due to traffic conditions
This route has restricted usage or private

roads.
f_—srvvia FL-848 E/Stirling Rd 27 min
12.7 miles
f svia FL-822/Sheridan St 26 min
12.6 miles

Explore nearby Rock With U

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Restaurants Hotels Gas stations Parking Lots More

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